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MOW 3007-1.1   (4/2021)



                          IN THE UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF MISSOURI

IN RE:                                                     )
                                                           )
INTERSTATE UNDERGROUND WAREHOUSE                           )
     AND INDUSTRIAL PARK, INC.                             )       Case. No. 21-40834
                                                           )       Chapter 11
                               Debtor.                     )

                                   OBJECTION TO CLAIM

       Comes now Movant Interstate Underground Warehouse and Industrial Park, Inc., and
hereby objects to the Proof of Claim filed by creditor, Richard H. Turner, in the amount of
$1,406,394.05, and filed on December 3, 2021. The court claim number is #40.

     Your claim may be reduced, modified, or eliminated. You should read this
document carefully and discuss it with your attorney, if you have one.

   Pursuant to Local Rule 3007-1 (C), the Claimant shall have 30 days after service of the
   Objection in which to file a Response if you do not want the court to eliminate or change your
   claim. The Response shall be in writing and state why the claim should be allowed as filed.
   If a Response is filed, the Court will schedule a hearing. If no timely Response is filed, the
   Court will enter an Order sustaining the Objection to the Claim. Parties not represented by an
   attorney shall mail a Response to the Court at U.S. Bankruptcy Court, 400 E. 9th St., Room
   1510, Kansas City, MO 64106. Debtor(s) not represented by an attorney must be served a
   copy of the Response by regular mail. If your Response is mailed, it must be early enough so
   that the court will receive it on or before 30 days after service of the Objection.

The basis for the objection is as follows:

☒     The claim should be disallowed with the exception of the balance owed on one
Promissory Note because:

    (a) The Partnership share of West Wyoming LLC in the amount of $96,664 is not an
        obligation of the Debtor. West Wyoming LLC was a separate limited liability company
        that owned real estate at 911-915 Wyoming Street, Kansas City, MO 64101. That real
        estate was sold on 10/15/18 to Zaibatsu LLC for $1,120,000. After paying off closing
        costs and the first mortgage loan with Citizen Bank & Trust (of $497,098.38) and the
        second mortgage loan with CCC Capital Investment, LLC (of $44,000), the Seller
        received $484,597.21. The Agreement, which is attached to Claimant’s Proof of Claim
        (page 7 of 25) appears to be an agreement with Wayne Reeder as a representative of
        West Wyoming LLC and not with the Debtor. Movant disputes this portion of the
        Claim.
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    (b) The Claimant may be owed for the preparation of tax returns; however, the returns were
        incorrectly prepared. Further, the $157,900 includes “consulting fees” of $63,300 which
        the Debtor’s owner never agreed to pay. On or about July 28, 2020, Debtor, through its
        manager Leslie Reeder, sent demand to Claimant to provide copies of 2017 tax returns
        (including depreciation schedules) for IUW ending 5/31/18 and for all LLCs (with a list
        provided in the demand). The purpose of the demand was to obtain the returns and
        information so that the subsequent years of returns could be prepared and filed.
        Claimant has failed and refused to provide the requested documents, which belong to the
        Debtor. Thus, the cost of preparing the 2018-2020 tax returns is greater due to the lack
        of information. The Movant disputes this portion of the Claim.

    (c) The Claimant is asserting that he is owed $97,133.02 and $39,932.10 for two loans
        extended by Pioneer Village Estate/Richard Turner (see page 3 of 25). These loan
        balances do not reflect payments made of $30,000. Debtor will agree that Pioneer
        Village Estate/Richard Turner are owed $30,000 plus interest at 12% per annum.

    (d) The amount of $1,018,764.93 is a claim based upon an alleged “fixed rate mortgage”
        (see page 22 of 25). There is no promissory note or other document to evidence that the
        Movant owes Claimant this sum or the sums reflected on pages 22-25 of the Proof of
        Claim. The Movant disputes this portion of the Claim.




Dated: January 31, 2022                            KRIGEL & KRIGEL, P.C.


                                                    /s/ Erlene W. Krigel
                                                   Erlene W. Krigel, MO #29416
                                                   4520 Main St., Ste. 700
                                                   Kansas City, MO 64111
                                                   Telephone: (816) 756-5800
                                                   Fax: (816) 756-1999
                                                   Email: ekrigel@krigelandkrigel.com
                                                   ATTORNEYS FOR DEBTOR
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                                    CERTIFICATE OF SERVICE

I Erlene W. Krigel hereby certify that a true and correct copy of the Objection to Claim was
mailed to Richard H. Turner by first class mail this 31st day of January, 2022:

Richard H. Turner
1519 6th Street
Bakersfield, CA 93304


And to all other parties received notice electronically via the court’s Electronic System.


Dated: 1/31/2022                                                    /s/ Erlene W. Krigel
                                                                    Erlene W. Krigel

Court address: U.S. Bankruptcy Court, 400 E. 9th St., Room 1510, Kansas City, MO 64106

Instructions: Complete all parts of the form and serve on the affected parties

ECF Event: Bankruptcy>Claim Actions>Objection to Claim (includes 30-day notice)
